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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ILUMINADA ORTEGA,                    :
                                     :                      Case No.: 1:21-cv-1125 (NGG) (CLP)
                    Plaintiff,       :
                                     :                            NOTICE OF MOTION
                 v.                  :
                                     :
CHAMPAGNE ROOM BK, INC d/b/a DRAFT   :
BARN d/b/a END ZONE SPORTS BAR &     :
LOUNGE, and RUBEN YEGHOYAN           :
                                     :
                    Defendants.      :
                                     :
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         PLEASE TAKE NOTICE THAT, upon the annexed memorandum of law of Jonathan

Shalom, Esq., and the declaration of Jonathan Shalom, Esq., and all prior papers and proceedings

in this case, the Plaintiff, by his undersigned counsel, will move this Court, on such date as is set

by the Court, pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, granting Plaintiff

Iluminada Ortega (“Plaintiff” or “Ortega”) leave to amend her pleadings.

         PLEASE TAKE FURTHER NOTICE THAT, pursuant to this Court’s Order dated

August 19, 2022, answering papers, if any, shall be served on the undersigned no later than

September 30, 2022, and Plaintiff shall file reply papers in further support no later than October

7, 2022.

Dated:     Forest Hills, New York
           September 9, 2022                    SHALOM LAW, PLLC
                                                By: /s/ Jonathan Shalom, Esq.___________
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